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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF RHODE ISLAND


In re: Millard D. Norton, III                                                            BK No: 17-10644
       Debtor                                                                            Chapter 7


                         DECISION AND ORDER ON DEBTOR’S
                    MOTION FOR DAMAGES FOR VIOLATION OF STAY

        Debtor Millard Norton alleges that Continental Finance Company (“Continental”) and

Celtic Bank (“Celtic”) violated the automatic stay by mailing him two communications

demanding payment of the pre-petition debt he owed them on a Surge credit card account after

the commencement of his bankruptcy case. See Doc. #11 (the “Motion”). These violations, Mr.

Norton asserts, caused him actual damages, including attorney fees, lost income, and emotional

distress. Mr. Norton also seeks punitive damages. Both Continental and Celtic were served with

copies of the Motion, and no responses have been filed. As instructed by the Court, Mr. Norton

submitted an itemized statement of the damages he alleges he incurred related to this matter. See

Doc. #20. As will be more fully discussed, the Court concludes that Continental willfully

violated the automatic stay through its post-petition actions, and Mr. Norton suffered actual

damages as a result of that violation. However, Mr. Norton has not shown that Celtic violated the

stay.

I.      Jurisdiction

        The Court has jurisdiction over this matter under 28 U.S.C. §§ 157(a) and 1334, Rule

109(a) of the local rules of the United States District Court for the District of Rhode Island, and

11 U.S.C. § 362(k)(1). 1 This is a core proceeding under 28 U.S.C. § 157(b)(2)(A).




1
  Unless otherwise indicated, the terms “Bankruptcy Code,” “Code,” “chapter,” “section” and “§” refer to Title 11 of
the United States Code, 11 U.S.C. §§ 101, et seq. as amended by the Bankruptcy Abuse Prevention and Consumer
Protection Act of 2005, Pub. L. No. 109-8, 119 Stat. 37.
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II.    Applicable Law

       Bankruptcy Code § 362(a) imposes an automatic stay as of the petition date, and serves

as “one of the fundamental protections that the Bankruptcy Code affords to debtors.” In re

McKenna, 566 B.R. 286, 288 (Bankr. D.R.I. 2017) (quoting In re Jamo, 283 F.3d 392, 398 (1st

Cir. 2002) (citations omitted)). Redress for violation of the stay is available under § 362(k)(1),

which provides that a debtor injured by a “willful violation” of the automatic stay “shall recover

actual damages, including costs and attorneys’ fees, and, in appropriate circumstances, may

recover punitive damages.” A debtor seeking damages under this provision bears the burden of

proving, by a preponderance of the evidence – in other words, a standard of more likely than not

– three elements: “(1) that a violation of the automatic stay occurred; (2) that the violation was

willfully committed; and (3) that the debtor suffered damages as a result of the violation.”

Slabicki v. Gleason (In re Slabicki), 466 B.R. 572, 577-78 (B.A.P. 1st Cir. 2012) (citations

omitted). “A willful violation does not require a specific intent to violate the automatic stay. The

standard for a willful violation . . . is met if there is knowledge of the stay and the defendant

intended the actions which constitute the violation.” Fleet Mortg. Group v. Kaneb, 196 F.3d 265,

269 (1st Cir. 1999) (citations omitted). “In cases where the creditor received actual notice of the

automatic stay, courts must presume that the violation was deliberate.” Id.

       Here in the First Circuit, emotional distress is considered “actual damage” under

§ 362(k)(1). Id.; Heghmann v. Indorf (In re Heghmann), 316 B.R. 395, 405 (B.A.P. 1st Cir.

2004). “[A]ctual damages should be awarded only if there is concrete evidence supporting the

award of a definite amount.” Id. (citations omitted). However, courts have awarded emotional

distress damages without medical evidence or corroborating testimony. See Bererhout v. City of

Malden (In re Bererhout), No. 09-18956-JNF, Adv. P. No. 09-1314, 2011 Bankr. LEXIS 2097,



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at *16-17 (Bankr. D. Mass. May 24, 2011); Varela v. Quinones Ocasio (In re Quinones Ocasio),

272 B.R. 815, 824-25 (B.A.P. 1st Cir. 2002); In re Tine, BK No. 11-12604, 2012 Bankr. LEXIS

2092, at *8 (Bankr. D.R.I. May 4, 2012).

       Courts also have considered instances where emotional distress is accompanied by actual

financial injury. See, e.g., Swilling v. ACA Fin. Servs. (In re Swilling), No. 07-11273-WRS,

Chapter 7, Adv. Pro. No. 08-1016-WRS, 2008 Bankr. LEXIS 3124, at *24-25 (Bankr. M.D. Ala.

Nov. 20, 2008) (awarding $5,000.00 in emotional distress damages when a creditor intercepted

the debtor’s social security check); Matthews v. United States (In re Matthews), 184 B.R. 594,

600-01 (Bankr. S.D. Ala. 1995) (awarding $3,000.00 for loss of use of $1,800.00 tax refund for

one year and debtors’ testimony about how upset and stressed they and their children became as

a result of the wrongful stay violations and seizure of their tax refund).

       As to attorney fees, in the awarding of damages under Bankruptcy Code § 362(k), “an

award of fees reasonably incurred is mandated by the statute; courts awarding fees under

§ 362(k) thus retain the discretion to eliminate unnecessary or plainly excessive fees.” In re Silk,

549 B.R. 297, 302 (Bankr. D. Mass. 2016) (quoting America’s Servicing Co. v. Schwartz-Tallard

(In re Schwartz-Tallard), 803 F.3d 1095, 1101 (9th Cir. 2015) (citation omitted)). “The

reasonableness of fees is determined in accordance with § 330 of the Bankruptcy Code.” Id.

(quoting Lopez v. Consejo de Titulares del Condominio Carolina Court Apts. (In re Lopez), 405

B.R. 24, 32-33 (B.A.P. 1st Cir. 2009)).

       Section 330(a)(1) authorizes the bankruptcy court to award “reasonable compensation for

actual, necessary services rendered . . . based on an after-the-fact consideration of ‘the nature, the

extent, and the value of such services, taking into account all relevant factors.’” In re Mendez,




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No. 05-06196 (ESL), 2012 Bankr. LEXIS 3693, at *4 (Bankr. D.P.R. Aug. 9, 2012) (quoting 11

U.S.C. § 330(a)(1), (3)).

       As a starting point, in this Circuit a court must first utilize the lodestar method to evaluate

the reasonableness of the fees requested. The lodestar amount is calculated by taking “the time

counsel spent on the case, subtracts duplicative, unproductive, or excessive hours, and then

applies prevailing rates in the community (taking into account the qualifications, experience, and

specialized competence of the attorneys involved).” Gay Officers Action League v. Puerto Rico,

247 F.3d 288, 295 (1st Cir. 2001). Next, after calculating the “presumptively reasonable fee . . .

it is subject to upward or downward adjustment in certain circumstances.” Lipsett v. Blanco, 975

F.2d 934, 937 (1st Cir. 1992).

       On the other hand, the imposition of punitive damages requires more than a mere willful

violation of the automatic stay. Heghmann, 316 B.R. at 405. Factors to consider include: “(1) the

nature of the creditor’s conduct; (2) the creditor’s ability to pay damages; (3) the motive of the

creditor; and (4) any provocation by the debtor.” Id.

       “The cases interpreting ‘appropriate circumstances’ in 11 U.S.C. § 362(k)(1)
       indicate . . . that egregious, intentional misconduct on the violator’s part is
       necessary to support a punitive damages award. [S]uch awards are reserved for
       cases in which the violator’s conduct amounts to something more than a bare
       violation justifying compensatory damages or injunctive relief. To recover
       punitive damages, the violator must act with actual knowledge that he is violating
       a federally protected right or with reckless disregard of whether he is doing so.”

In re Barboza, 211 B.R. 450, 453 (Bankr. D.R.I. 1997) (citations omitted).

       The Court must also be mindful that “[t]he primary purpose of punitive damages awarded

for a willful violation of the automatic stay is to cause a change in the creditor’s behavior [and]

the prospect of such change is relevant to the amount of punitive damages to be awarded.”

Ocasio, 272 B.R. at 825 (citations omitted); see also Rijos v. Vizcaya (In re Rijos), 263 B.R. 382



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(B.A.P. 1st Cir. 2001) (finding that the defense of “the computer did it . . . [when] the computer

automatically issued a bill while a new software system was being installed” is not viable against

a stay violation claim). Previous Rhode Island bankruptcy cases on the award of punitive damage

have focused on creditors whose policy of dealing with debtors led them to violate the automatic

stay. See In re Flynn, 143 B.R. 798, 803-04 (Bankr. R.I. 1992) (cautioning that the creditor

would have to pay $5,000.00 in punitive damages if it did not amend its policies for how to deal

with account holders who file bankruptcy); In re Baker, 183 B.R. 30, 33 (Bankr. R.I. 1995)

(warning the creditor that it would have to pay $2,500.00 in punitive damages if it did not amend

its procedures and submit them to the court with a statement that it trained its employees

accordingly).

III.    Findings of Fact

        The Court finds the following facts based on the uncontroverted allegations in the

Motion, and the attachments thereto, and the Court’s own review of the docket in this case. 2

          1. On April 21, 2017, Mr. Norton filed a chapter 7 bankruptcy petition.

          2. On that same date, Mr. Norton filed Schedule E/F and a creditor matrix, listing
             “Surge Mastercard,” Cardholder Services, P.O. Box 8099, Newark, DE, 19714, as a
             creditor holding an unsecured claim in the amount of $430.24 for credit card debt.

          3. Mr. Norton did not list Continental or Celtic as a creditor on the creditor matrix or
             on Schedule E/F when he filed his bankruptcy petition or at any time thereafter.

          4. On April 26, 2017, the Bankruptcy Noticing Center mailed the Notice of Chapter 7
             Bankruptcy Case regarding Mr. Norton’s bankruptcy case (the “Notice”) to the
             creditors listed on Mr. Norton’s creditor matrix, including “Surge Mastercard.”

          5. The “Surge Mastercard” address to which the Notice was sent was listed on Mr.
             Norton’s “Surge Mastercard” monthly statement as a “Surge Mastercard Cardholder
             Services” address, and is also listed on Continental’s website as an address for
             inquiries about the “Surge Card.” See Motion, Exhibit A.


2
 The Court is taking judicial notice of the bankruptcy docket. See In re Mailman Steam Carpet Cleaning Corp., 196
F.3d 1, 8 (1st Cir. 1999) (“The bankruptcy court appropriately took judicial notice of its own docket.”).

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       6. Continental received actual notice of the filing of Mr. Norton’s bankruptcy petition.

       7. On May 3, 2017, Surge/Continental sent a collection letter to Mr. Norton (“First
          Collection Letter”), which Mr. Norton received. See Motion, Exhibit C.

       8. On May 12, 2017, Mr. Norton’s counsel replied to “Surge” with a letter providing
          information about Mr. Norton’s bankruptcy and the automatic stay, which letter was
          not returned to counsel as undeliverable (“Counsel’s Letter”). Id.

       9. Continental received Counsel’s Letter.

       10. Despite Continental receiving notice of his bankruptcy filing and Counsel’s Letter,
           on or about May 23, 2017, Mr. Norton received a statement from Surge/Continental
           (“Second Collection Letter”) demanding payment of the debt and stating that
           additional collection activity against him was being considered. See Motion, Exhibit
           D.

       11. Mr. Norton’s statement of damages includes an affidavit in which he states: that it
           was his understanding that his bankruptcy would stop creditors from trying to
           collect debts from him and that on receiving the First Collection Letter he became
           very worried and afraid his case might not apply to “Surge” (i.e. Continental); that
           when he received the Second Collection Letter he did not know if he would be sued
           on this pre-petition debt and he again became worried that Surge/Continental did
           not seem to care about his bankruptcy case; that he has had general worry and
           anxiety over these collection efforts causing him several restless nights; and that he
           had to take time away from work (about two hours at $15.00 per hour) to deal with
           this situation. See Doc. #20, Exhibit C.

       12. Mr. Norton’s affidavit regarding lost income and emotional damages is reasonable
           in light of the post-petition pursuit by Surge/Continental of its pre-petition debt
           despite being notified twice of the pendency of this bankruptcy case.

       13. In support of his damage claim, Mr. Norton’s counsel submitted an itemized
           statement of attorney fees and expenses incurred in connection with this matter
           totaling $1,988.16. See Doc. #20, Exhibits A and B.

       14. The itemized and requested attorney fees and expenses are reasonable in light of the
           time and efforts of counsel necessitated by Surge/Continental’s post-petition pursuit
           of its pre-petition debt despite being notified twice of the pendency of this
           bankruptcy case.

       15. As to Celtic, although Mr. Norton alleges that Celtic is the issuer of the “Surge
           MasterCard” and asserts that Continental was acting as the agent of Celtic,
           insufficient evidence has been presented to support these allegations.




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           16. Surge/Continental knew that sending the collection letters and continuing efforts to
               collect its pre-petition debt after Mr. Norton had filed bankruptcy and with
               knowledge of that filing was a violation of the automatic stay.

           17. Mr. Norton has shown by a preponderance of the evidence that Continental
               knowingly and willfully violated the automatic stay.

           18. Mr. Norton has failed to show by a preponderance of the evidence that Celtic
               knowingly and willfully violated the automatic stay.

IV.    Conclusions of Law

       The Court makes the following conclusions of law based on the findings of fact and the

applicable legal standards:

       1. Continental knowingly and willfully violated the automatic stay imposed by Code
          § 362(a) by sending Mr. Norton the First Collection Letter and the Second Collection
          Letter to collect a pre-petition debt after he filed his bankruptcy petition; and

       2. Under Code § 362(k)(1), Mr. Norton is entitled to actual damages, including costs
          and attorney fees. He has proven by a preponderance of the evidence actual damages
          of:

                a. $30.00, for lost income;
                b. $500.00, for emotional distress; and
                c. $1,988.16, for attorney fees and costs.

       Mr. Norton has not proven by a preponderance of the evidence that he is entitled to

punitive damages. Continental’s conduct was not so extreme as to warrant punitive damages, and

there is no evidence that Continental has a history or pattern of violating the automatic stay. The

Court cautions Continental that future stay violations may warrant a different result as to punitive

damages.

V.     Conclusion

       Mr. Norton’s Motion is GRANTED as to Continental, which is hereby ordered to pay

Mr. Norton $2,518.16 within 60 days of the entry of this Decision and Order. Mr. Norton shall

serve a copy of this Decision and Order within seven days of its entry on Continental at the



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address set forth in the certification of service in the Motion and also on its Delaware registered

agent. Mr. Norton’s Motion is DENIED as to Celtic.


Date: August 25, 2017                                         By the Court,



                                                              __________________________
                                                              Diane Finkle
                                                              U.S. Bankruptcy Judge




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